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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

              v.                                                    Civil Action No. 5:21-cv-844 (XR)
                                                                    (consolidated cases)
GREGORY W. ABBOTT, et al.,

                        Defendants.


                   DISTRICT ATTORNEY OGG'S OBJECTIONS TO
                   UNITED STATES’ CORRECTED EXHIBIT LIST
                                                                  Corrected       Date
 #                           Exhibit                                                         Objections
                                                                 Bates Range    Identified

                                                                US00007838-
 1                       SB 1 Enrolled                                           7/28/23
                                                                US00007913

         Criminal Justice Impact Statement: HB 3 (87th
 2                                                             TXLEG_0000028     7/28/23
            Legislature, 1st Called Session) (2021)

       County and District Clerk’s Association: Election
 3                                                              STATE035238      7/28/23
            Officials’ Concerns with HB 3 (2021)

        Texas Association of Elections Administrators:         TXLEG_0000046-
 4                                                                               7/28/23
                 Comments on SB 7 (2021)                       TXLEG_0000048

         Fiscal Note: SB 1 (87th Legislature, 2d Called        TXLEG_0000071-
 5                                                                               7/28/23
                        Session) (2021)                        TXLEG_0000072

                                                                STATE182732-
 6                     SB 1599 Enrolled                                          7/28/23
                                                                STATE182743

                                                                STATE182637-
 7                      HB 357 Enrolled                                          7/28/23
                                                                STATE182640

 8                     HB 357 Introduced                        STATE182642      7/28/23

                                                                US00007914-
 9                     SB 975 Introduced                                         7/28/23
                                                                US00007915

      Revised Civil Statutes of the State of Texas art. 2956    US00008026-
10                                                                               7/28/23
                             (1925)                             US00008032
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                                                            STATE019849-
101       Election Advisory No. 2022-08 (Jan. 28, 2022)                    7/28/23
                                                            STATE019876

                                                            STATE001469-
102      Election Advisory No. 2022-12 (Feb. 11, 2022)                     7/28/23
                                                            STATE001473

                                                            STATE087989-
103      Election Advisory No. 2022-18 (Apr. 26, 2022)                     7/28/23
                                                            STATE087992

       Federal Voting Assistance Program: 2022-23 Voting    STATE115176-
104                                                                        7/28/23
               Assistance Guide: Texas (Jan. 2022)          STATE115191

        Texas Office of the Attorney General Opinion No.    US00008000-
105                                                                        7/28/23
                    KP-0411 (Aug. 17, 2022)                 US00008006

       LWV of Texas, Tips for Voters - New Election Laws                             FRE 801
106                                                         STATE046118    7/28/23
                        (Dec. 2, 2021)                                               et seq.
                                                            STATE072497-
107*            HB 2512 Process (June 16, 2016)                            7/28/23
                                                            STATE072499

                                                            STATE088963-
108*            HB 2512 Process (June 21, 2016)                            7/28/23
                                                            STATE088967

109*         SSN Update Counts Spreadsheet (2016)           STATE072509    7/28/23

       Shared All County Workbook, Sheet: All County List
110                                                         STATE053246    7/28/23
                          (Jan. 2021)

                                                            STATE066242-
111          List of VR Team Duties (Feb. 19, 2021)                        7/28/23
                                                            STATE066244

         Purchase Order for SB 1 TEAM Updates (Oct. 4,      STATE180779-
112                                                                        7/28/23
                             2021)                          STATE180781

       SB 1 Technical Specifications (TEAM System) (Oct.    STATE052309-
113                                                                        7/28/23
                           10, 2021)                        STATE052310

114            SB 1 Requirements (Oct. 10, 2021)            STATE070228    7/28/23

       RFP for Voter Education and Outreach Opportunities   STATE137757-
115                                                                        7/28/23
                       for 2022 Elections                   STATE137837

             SOS 2022 Democratic Primary Ballots            STATE087300-
116                                                                        7/28/23
                Accepted/Rejected by County                 STATE087305

              SOS 2022 Republican Primary Ballots           STATE087306-
117                                                                        7/28/23
                 Accepted/Rejected by County                STATE087311

          SOS 2022 Constitutional Amendment Election
118                                                         STATE110691    7/28/23
             Ballots Accepted/Rejected by County

           SOS 2022 March and May Elections Ballots
119                                                         STATE110692    7/28/23
                 Accepted/Rejected by County




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        Election Assistance Commission, A Guide to the
                                                             US00006751-              FRE 801
139   Election Administration and Voting Survey (July 20,                  7/28/23
                                                             US00006765               et seq.
                             2022)

           Election Assistance Commission, Election                                    FRE 801
                                                             US00006829-
140         Administration and Voting Survey 2022                          7/28/23     et seq.
                                                             US00006835
                 Comprehensive Report (2023)

           Election Assistance Commission, Election
                                                             US00006823-               FRE 801
141         Administration and Voting Survey 2020                          7/28/23
                                                             US00006828                et seq.
                 Comprehensive Report (2021)

           Election Assistance Commission, Election                                   FRE 801
                                                             US00006819-
142         Administration and Voting Survey 2018                          7/28/23    et seq.
                                                             US00006822
            Comprehensive Report (2019) (excerpt)

           Election Assistance Commission, Election                                   FRE 801
                                                             US00006815-
143         Administration and Voting Survey 2016                          7/28/23    et seq.
                                                             US00006818
            Comprehensive Report (2017) (excerpt)

                                                             US00007327-             FRE 702, 801
144        Report of Dr. Eitan Hersh (Feb. 28, 2022)                       7/28/23
                                                             US00007376              et seq.
        Supplemental Report of Dr. Eitan Hersh (May 4,       US00007411-             FRE 702, 801
145                                                                        7/28/23
                            2022)                            US00007442              et seq.

        Second Supplemental Report of Dr. Eitan Hersh        US00007385-             FRE 702, 801
146                                                                        7/28/23
                      (Feb. 3, 2023)                         US00007410              et seq.

       Addendum to Second Supplemental Report of Dr.         US00007377-             FRE 702, 801
147                                                                        7/28/23
                Eitan Hersh (May 8, 2023)                    US00007384              et seq.

                                                             US00007682-             FRE 702, 801
148        Report of Tammy Patrick (Feb. 28, 2022)                         7/28/23
                                                             US00007703              et seq.

       Supplemental Report of Tammy Patrick (Apr. 29,        US00007711-             FRE 702, 801
149                                                                        7/28/23   et seq.
                           2022)                             US00007717

       General Election Supplemental Report of Tammy         US00007704-             FRE 702, 801
150                                                                        7/28/23
                   Patrick (Feb. 10, 2023)                   US00007710              et seq.

      Report of Dr. Douglas L. Kruse (Corrected) (Feb. 28,   US00007718-             FRE 702, 801
151                                                                        7/28/23
                             2022)                           US00007795              et seq.

      Third Supplemental Report of Dr. Dan Smith (June 7,    US00007916-             FRE 702, 801
152                                                                        7/28/23
                            2023)                            US00007985              et seq.

       State Defendants’ Objections and Responses to the     US00007804-
153                                                                        7/28/23
                United States’ First Set of RFAs             US00007811

       State Defendants’ Objections and Responses to the     US00006672-
154                                                                        7/28/23
        United States’ Amendments to First Set of RFAs       US00006674

       State Defendants’ Objections and Responses to the     US00006661-
155                                                                        7/28/23
            United States’ First Set of Interrogatories      US00006671



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       Email from Colleen Oehlschlager (Voter) to Andre        STATE118514-             FRE 801
309                                                                           7/28/23
               Montgomery (SOS) (Nov. 3, 2022)                 STATE118517              et seq.

      Email from Jeanie Longoria (Medina County) to SOS
                                                                                        FRE 801
310   Elections re: Questions re Carrier Envelope (Nov. 3,     STATE141086    7/28/23
                             2022)                                                      et seq.

       Email from Andrew Montgomery (SOS) to Jason
      Hull (Voter) re: Tarrant County Ballot Board There is    STATE118032-
311                                                                           7/28/23
        an Error Regarding Your ID for your Electronic         STATE118035
                       Ballot (Nov. 4, 2022)

       Email from William Keene (Voter Parent) to SOS
312   Elections re: Official Election Signature Sheet for an   STATE133670    7/28/23   FRE 801
               FPCA Voter Form (Nov. 4, 2022)                                           et seq.

      Email from SOS Elections to Grace Hoskins (Voter)        STATE122573-
313                                                                           7/28/23
            re: Mail-In Ballot Issue (Nov. 8, 2022)            STATE122574

       Email from SOS Elections to Marvin Byers (Voter)
314                                                            STATE126783    7/28/23
                       (Nov. 8, 2022)

         Email from Jennifer Etheridge (Voter) to SOS          STATE118344-             FRE 801
315                                                                           7/28/23
      Elections re: Please Count My Ballot (Nov. 8, 2022)      STATE118346              et seq.

          Email from Colleen Stadnick (Voter) to SOS           STATE122690-             FRE 801
316                                                                           7/28/23   et seq.
                   Elections (Nov. 10, 2022)                   STATE122691

      Election Complaint from John Herbster (Voter) (Nov.      STATE171804-             FRE 801
317                                                                           7/28/23
                           15, 2022)                           STATE171810              et seq.

         Email from Keith Ingram (SOS) to Kate Fisher
                                                               STATE180236-
318    (SOS) re: 2020 Election Administration and Voting                      7/28/23
                                                               STATE180237
                    Survey (Nov. 16, 2022)

       Email from Lena Proft (SOS) to Jana Onyon (Ellis
                                                               STATE177150-
319   County) re: Section 31.093 Duty to Contract (Mar. 3,                    7/28/23
                                                               STATE177152
                             2023)

      Eric Alvarez, Denton County Election Officials Share                              FRE 801
                                                               US00006743-
320   How to Protect Your Mail-In Vote, WFAA (Aug. 21,                        7/28/23   et seq.
                                                               US00006744
                            2020)

         Eline de Bruijn and Jason Whitely, Carrollton         US00006706-              FRE 801
321      Mayoral Candidate Arrested After Police Find                         7/28/23
         Forged Mail-in Ballots, WFAA (Oct. 8, 2020)            US00006710              et seq.

      Press Release, Office of the Texas Secretary of State,
                                                                                        FRE 801
322   Secretary Hughs Commends Texas Voters Following          STATE087633    7/28/23
                                                                                        et seq.
        November 3rd General Election (Nov. 30, 2020)

       Zaira Perez, Former Carrollton Mayoral Candidate
                                                               US00006840-              FRE 801
323      Indicted on 109 Felony Voter Fraud Charges,                          7/28/23
                                                               US00006842               et seq.
            Denton Record-Chronicle (May 7, 2021)




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       Taisha Walker, I've Never Missed a Vote: 95-Year
       Old World War II Veteran Says His Mail-In Ballot         US00006711-                FRE 801
324                                                                              7/28/23
        Application Has Been Denied Twice Due to New            US00006712                 et seq.
         Requirements, Click2Houston (Jan. 25, 2022)

      Press Release, Office of the Texas Secretary of State,
       Secretary Scott Encourages Eligible Texans to Vote      STATE020224-                FRE 801
325                                                                              7/28/23   et seq.
       Early, Make a Plan to Cast a Ballot for the March 1     STATE020229
                 Primary Election (Feb. 7, 2022)

       Steve Clark, Voting Changes: Garza Says to Read                                     FRE 801
                                                                US00008022-
326     Ballots Carefully, Brownsville Herald (Feb. 10,                          7/28/23
                                                                US00008024                 et seq.
                             2022)

         Press Release, Cameron County Department of
                                                                                           FRE 801
327   Elections, Cameron County Initiates Cure Process for      US00007796       7/28/23
            Returned Ballots by Mail (Feb. 18, 2022)                                       et seq.

      Garrett Brnger, More Than 1,900 Bexar County Mail
                                                                US00007464-                FRE 801
328        Ballots Rejected, Follow New Voting Law                               7/28/23
                                                                US00007466                 et seq.
               Requirement, KSAT (Mar. 8, 2022)

           Press Release, Harris County Elections                                          FRE 801
329    Administrator, 89% of Mail Ballots Flagged Under        Longoria_005179   7/28/23   et seq.
             New Law Rejected (Mar. 11, 2022)

       Andrew Schneider, 19% of Harris County Mail-In
      Ballots in the 2022 Primary Were Rejected Due to SB       US00006646-                FRE 801
330                                                                              7/28/23   et seq.
      1, According to the Elections Administrator, Houston      US00006648
                   Public Media (Mar. 11, 2022)

      Garrett Brnger, Bexar County Elections Officials Try                                 FRE 801
                                                                US00007454-
331      to Prevent Another “Tsunami” of Mail Ballot                             7/28/23   et seq.
                                                                US00007457
               Rejections, KSAT (Apr. 25, 2022)

      Press Release, Office of the Texas Secretary of State,
                                                               STATE134505-                FRE 801
332   Secretary Scott Encourages Texans to Vote Early in                         7/28/23
                                                               STATE134508                 et seq.
       May 24 Primary Runoff Elections (May 13, 2022)

          Christian Aleman, Mail-In Ballot Rejections                                      FRE 801
                                                                US00007458-
333     Decreased in Texas in the May Elections, KVUE                            7/28/23   et seq.
                                                                US00007462
                        (July 8, 2022)

      Press Release, Office of the Texas Secretary of State,
       Secretary Scott Marks National Voter Registration       STATE120634-                FRE 801
334                                                                              7/28/23   et seq.
         Day, Highlights Statewide “VoteReady” Voter           STATE120641
             Education Campaign (Sept. 20, 2022)

      Press Release, Office of the Texas Secretary of State,   STATE119692-                FRE 801
335                                                                              7/28/23
       SOS 101: Voting by Mail in Texas (Oct. 12, 2022)        STATE119698                 et seq.

      Ashley Lopez, Texas Officials Say They’re Rejecting
                                                                US00008007-                FRE 801
336    Fewer Mail Ballots Than the Primary's Big Spike,                          7/28/23
                                                                US00008009                 et seq.
              Texas Public Radio (Nov. 4, 2022)




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